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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                      §
                                               §       CRIMINAL NO. 4:04CR116(10)
 v.                                            §
                                               §
 MICHAEL TYRONE PRICE                          §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Court referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on June 16, 2010 to determine whether the Defendant violated his supervised

 release. The Defendant was represented by Robert Arrambide. The Government was represented

 by Heather Rattan.

        On March 29, 2005, the Defendant was sentenced by the Honorable Paul Brown, United

 States District Judge, to 36 months imprisonment followed by a 4-year term of supervised release

 for the offense of conspiracy to manufacture, distribute or possess with intent to manufacture,

 distribute or dispense cocaine base (crack). On November 17, 2006, this case was re-assigned to the

 Honorable Richard A. Schell, United States District Judge.

        Defendant originally began his term of supervision on April 21, 2008. His term of supervised

 release was revoked on May 22, 2009 and Defendant was sentenced to 6 months imprisonment

 followed by an additional 42 months of supervised release. Defendant’s new term of supervised




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 release commenced on October 30, 2009.

        On April 30, 2010, the U.S. Probation Officer filed a Petition for Warrant or Summons for

 Offender under Supervision (Dkt. 645). The petition asserts that Defendant violated the following

 conditions of supervision: (1) Defendant shall report to the probation officer as directed by the Court

 or probation officer and shall submit a truthful and complete written report within the first five days

 of each month; (2) Defendant shall notify the probation officer at least ten days prior to any change

 in residence or employment; and (3) Defendant must report to the probation office in the district to

 which he is released within 72 hours of release from the custody of the Bureau of Prisons.

        The petition alleges that Defendant committed the following violations. First, it is alleged

 that Defendant failed to report to the U.S. Probation Office on November 3, 2009 and March 16,

 2010 as instructed and that Defendant also failed to submit a written monthly report for March 2010.

 The petition also alleges that Defendant was approved to reside at his father’s residence in Denton,

 Texas upon his release from imprisonment, but that, on March 15, 2010, he reported via telephone

 that he was living with his girlfriend in Ft. Worth, Texas at a residence not approved by the U.S.

 Probation Office. According to the petition, Defendant failed to provide the U.S. Probation Office

 with the address and his residence was unknown at the time of the filing of the petition.

 Additionally, the petition alleges that Defendant was released from the Bureau of Prisons on October

 30, 2009 and failed to report to the U.S. Probation Office within 72 hours. Finally, the petition

 alleges that, on November 13, 2009, Defendant was arrested by Denton Police Department for

 manufacture/delivery of a controlled substance, was released on a $50,000 bond for the underlying

 suit, and failed to report to the U.S. Probation Office after being released on bond.


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            At the hearing, Defendant entered a plea of true to the alleged violations of conditions of his

     supervised release. The Court finds that Defendant has violated the terms of his supervised release.

     Defendant waived his right to allocute before the district judge and his right to object to the report

     and recommendation of this Court.

                                          RECOMMENDATION

.           Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be

     sentenced to 30 months imprisonment, with no supervised release to follow. The Court further

     recommends that Defendant’s term of imprisonment be carried out in Bureau of Prisons facility

     located in Beaumont, Texas, if appropriate.

            SIGNED this 16th day of June, 2010.

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                                                     ____________________________________
                                                     DON D. BUSH
                                                     UNITED STATES MAGISTRATE JUDGE




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